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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA



K.W., a minor by parent and natural                   )
Guardian NICHOLAS WISER; and                          )
NICHOLAS WISER, in his own right,                     )
                                                      )              Civil Action
                                                      )
                        Plaintiffs,                   )              No. 2:17-cv-01189-CB
                                                      )
               v.                                     )
                                                      )
THE ELLIS SCHOOL,                                     )
                                                      )
                        Defendant.                    )
                                                      )
                                                      )
                                                      )

                    Motion for Telephonic Participation in Mediation Session

       AND NOW, Plaintiffs, K.W. and Mr. Nicholas Wiser, by and through their counsel,

Attorney Kristen C. Weidus, respectfully request that Ms. Lindsey Barrowman, Plaintiff K.W.’s

mother, be permitted to participate in the mediation session scheduled for April 4, 2019 via

telephone. In support of this Motion, Plaintiffs state as follows:

       1. On February 15, 2019, the Initial Case Management Conference was held.

       2. At that conference, this Honorable Court determined that Ms. Lindsey Barrowman,

           mother of Plaintiff K.W., should also participate in the Parties’ upcoming second

           mediation session.

       3. The Parties have scheduled the second mediation with mediator Carole Katz on April

           4, 2019.

       4. On March 4, 2019, Plaintiff notified Ms. Lindsey Barrowman via electronic mail of

           the Court’s request regarding her attendance.
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       5. Ms. Barrowman acknowledged receipt of the electronic correspondence that same

             day.

       6. On Friday, March 29, 2019, Ms. Barrowman contacted Plaintiffs’ counsel directly via

             electronic mail regarding her attendance at the April 4, 2019 mediation session.

       7. Ms. Barrowman explained that, “with this being [her] busy season at work, [she is]

             not available to be there that day.”

       8. It is Plaintiffs’ counsel’s understanding that Ms. Barrowman works at an accounting

             firm, and that because it is tax season she is unable to attend in person.

       9. However, Ms. Barrowman has confirmed to Plaintiffs’ counsel that she can be

             available on April 4, 2019 via telephone.

WHEREFORE, Plaintiffs respectfully request that this Honorable Court enter an Order of Court

permitting Ms. Lindsey Barrowman to participate in the April 4, 2019 mediation session via

telephone.



                                                         Respectfully Submitted,

                                                         /s/ Kristen C. Weidus
                                                         Kristen C. Weidus, Esq.
                                                         Attorney I.D. No. 313486
                                                         Ruder Law
                                                         429 Forbes Avenue, Suite 450
                                                         Pittsburgh, PA 15219
                                                         Telephone: (412) 281-4959
                                                         Fax: (412) 291-1389
                                                         Email: kristenweidus@ruderlaw.com

Date: March 30, 2019




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